AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of North Carolina
                                                                 )
                        Epic Games, Inc.                         )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                   v.                            )   Civil Action No. 5:17-CV-534-H
                                                                 )
                                                                 )
                               C.R.                              )
                           Defendant(s)                          )
                                                                 )

                                          RE- SUMMONS IN A CIVIL ACTION
TO: (Defendant’s name and address)
          C.R.
          c/o Lauren Rogers
          501 West Ave.
          New Castle, DE 19720

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) – you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff’s attorney, whose name and address are:
        Christopher M. Thomas
        PARKER POE ADAMS & BERNSTEIN LLP
        P.O. Box 389
        Raleigh, NC 27602-0389


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                      PETER A. MOORE, JR.,
                                                                     CLERK OF COURT



          1/10/2018
Date: __________________________________________                     ______________________________________________
                                                                            Signature of Clerk or Deputy Clerk




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Civil Action No.     5:17-CV-534-H

                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any) _________________________________________________________________
was received by me on (date) _____________________.


           I personally served the summons on the individual at (place) _______________________________________________
          ________________________________________________________ on (date) __________________________ ; or

           I left the summons at the individual’s residence or usual place of abode with (name) ____________________________
          ________________________________ , a person of suitable age and discretion who resides there,
          on (date) ___________________________________ , and mailed a copy to the individual’s last known address; or

           I served the summons on (name of individual) ___________________________________________________ ,who is
          designated by law to accept service of process on behalf of (name of organization) ________________________________
          _______________________________________________ on (date) ________________________________ ; or


           I returned the summons unexecuted because ________________________________________________ ; or

           Other (specify):




          My fees are $ ___________ for travel and $ ___________ for services, for a total of $ __________________ .

          I declare under penalty of perjury that this information is true.



Date: ____________________________                                ___________________________________________________________
                                                                                               Server’s signature


                                                                  ___________________________________________________________
                                                                                             Printed name and title



                                                                  ___________________________________________________________
                                                                                               Server’s address

Additional information regarding attempted service, etc:




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